Case 1:14-cr-00091-MAC-KFG            Document 85       Filed 12/04/14      Page 1 of 1 PageID #:
                                             180



 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                          §
                                                  §
versus                                            §           CASE NO. 1:14-CR-91
                                                  §
KENNETH RAY SMITH                                 §

         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact

and Recommendations regarding the Defendant’s plea of guilty to Counts One and Seventeen of

the Indictment in the above-numbered case. The Magistrate Judge accepted the Defendant’s guilty

plea, recommends that the Defendant be adjudged guilty of the offenses to which he pleaded

guilty, and recommends that the court conditionally accept the Defendant’s plea agreement pending

review of the presentence report.

         The parties do not object to the Magistrate Judge’s findings and conclusions, and the court

is of the opinion that they should be and are ADOPTED. Further, the court RATIFIES the

Magistrate Judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

         1.     That the Defendant is adjudged GUILTY of the offenses alleged in Counts 1 and
                17 of the Indictment, in violation of Title 18, United States Code Sections 371 and
                922(g)(1).

         2.     The court conditionally accepts the Defendant’s plea agreement pending review of
                the presentence report.


         Signed this date.
         Dec 4, 2014
